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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

                                    CASE NO.: 0:22-cv-60729-WPD

  TWOWS, LLC,

          Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

          Defendants.
                                                       /

                                 NOTICE OF ENTRY OF PARTIES

          Plaintiff hereby gives notice that the Defendants1 identified below are being added as parties

  to this matter.

                                    884512
                                    15670803329
                                    *miniposters*
                                    15rdark09
                                    3e4t5t2
                                    800k
                                    888.mob
                                    90psk
                                    99aoow
                                    abhithakur970
                                    Adder
                                    AdelyaMihneva6089
                                    adjoins
                                    AgataKlyuchnikova3132
                                    aimarula
                                    aisa84541
                                    AlessioCacciatore

          1
              Defendants were previously listed on Schedule A to the Complaint.
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                           AllicioClothing
                           AlvisAlvayBbVh
                           AnastasiyaSigacheva6367
                           Angdone
                           AngelinaZolotareva6590
                           AnimalFart
                           Anime Shop
                           anjia fashion
                           Anthony Colvin
                           AnywhereDecorStore
                           Archie Ramirez
                           ariqiyan32447
                           arkwat75641
                           arshadtp
                           artdesign802
                           ArtFairShop
                           atg_memorabilia
                           aurelievanessa-21
                           ayuer
                           baiqian1546
                           barmugman
                           Barrycx
                           Be Colorful Store
                           Benigoodman
                           Beth-Moore10
                           BeyondUniqueStore
                           BiggerThanPrintsShop
                           Bill Saunders
                           blalal-0
                           BlancoByMax
                           BlockbusterVideo
                           BLVINECompany
                           Bobeiyou pants
                           BogdanaSHklyar8482
                           BoldBlocDesignLtd
                           boudrioux
                           brocej fashion
                           brodiep
                           BryanRiosss
                           BurciagaSteven

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                           Burst Passion
                           buyascript
                           bymerchantee
                           CactusYamaha
                           caihou fashion
                           caipingwei Store
                           CamasL
                           canbencanben
                           canvas.major
                           CanvasEmpireGlobal
                           CanvasEmpires
                           CanvasGlassArtDesign
                           CanvasGlassArtStore
                           caojun5563
                           Carcasse
                           Care and miss
                           CarisoWallArt
                           CasualDays
                           CatKittyStore
                           CatsTees
                           cccy0518
                           Chai Time
                           Charlotte McCullough
                           chayouxian Store
                           Cheburekas05
                           CHEN YANG WEN
                           chengranran24217
                           chenjunchao7897
                           chenshanyu1999
                           chenshimei973043
                           chenweilan
                           Cheryl\tScott
                           chet
                           chiyifan6688
                           Christr
                           cine-fille
                           cinema-prints
                           cinemascenes
                           cinemategifts
                           classicgraphs_uk

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                               ClaudiaVarosio
                               clh9000
                               crr19950610
                               Cruch
                               CustomSkinsCo
                               cyi6
                               cynthiaLAU
                               d8i99d
                               daijuan Store
                               DailyDrive
                               danerhcyre
                               danielmartos
                               Danyya
                               DarinkaSHaroshchenkova8934
                               DavonRosenbaum

        Dated: July 11, 2022
                                               THE BRICKELL IP GROUP, PLLC
                                               1101 Brickell Avenue
                                               South Tower, Suite 800
                                               Miami FL, 33131
                                               Tel: 305-728-8831
                                               Fax: 305-428-2450

                                               /s/ Nicole Fundora_____________
                                               Richard Guerra
                                               Fla. Bar No. 689521
                                               Email: rguerra@brickellip.com
                                               Nicole Fundora
                                               Fla. Bar No. 1010231
                                               Email: nfundora@brickellip.com
                                               Counsel for Plaintiff




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